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AO 245B (Rev. )   Judgment in a Criminal Case
                        Sheet 1



                                          UNITED STATES DISTRICT COURT
                                            District
                                     __________      of Montana
                                                District of __________
                                                      )
              UNITED STATES OF AMERICA                )     JUDGMENT IN A CRIMINAL CASE
                         v.                           )
                                                      )
               JUSTIN CHARLES HANSON                        Case Number: CR 17-04-GF-BMM-02
                                                      )
                                                      )     USM Number: 25581-086
                                                      )
                                                      )      Steven T. Potts
                                                      )     Defendant’s Attorney
THE DEFENDANT:
G
✔ pleaded guilty to count(s)           2 of the Superseding Information

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
 18 U.S.C. § 2314                   Interstate Transportation of Stolen Property                             9/4/2016                     2




       The defendant is sentenced as provided in pages 2 through                7        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G
✔ Count(s)       1                                      G
                                                        ✔ is      G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          10/17/2017
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge




                                                                          Brian Morris, United States District Judge
                                                                         Name and Title of Judge


                                                                          10/17/2017
                                                                         Date
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                      Sheet 2 — Imprisonment

                                                                                                     Judgment — Page    2        of   7
 DEFENDANT: JUSTIN CHARLES HANSON
 CASE NUMBER: CR 17-04-GF-BMM-02

                                                            IMPRISONMENT
            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
 term of:
  38 months.




      ✔ The court makes the following recommendations to the Bureau of Prisons:
      G
  Placement in the RDAP Program if eligible; and
  Placement in Sheridan, Oregon.


      G
      ✔ The defendant is remanded to the custody of the United States Marshal.

      G The defendant shall surrender to the United States Marshal for this district:
            G at                                  G a.m.       G p.m.         on                                             .

            G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            G before 2 p.m. on                                            .

            G as notified by the United States Marshal.
            G as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                       to

 aW                                                 , with a certified copy of this judgment.



                                                                                                   UNITED STATES MARSHAL


                                                                          By
                                                                                                DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. ) Judgment in a Criminal Case
                     Sheet 3 — Supervised Release
                                                                                                       Judgment—Page     3    of        7
DEFENDANT: JUSTIN CHARLES HANSON
CASE NUMBER: CR 17-04-GF-BMM-02
                                                      SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of :
 3 years.




                                                    MANDATORY CONDITIONS

1.   You must not commit another federal, state or local crime.
.   You must not unlawfully possess a controlled substance.
.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            G The above drug testing condition is suspended, based on the court's determination that you
                  SRVHDORZULVNRIIXWXUHVXEVWDQFHDEXVH FKHFNLIDSSOLFDEOH
     ✔
      G <RXPXVWPDNHUHVWLWXWLRQLQDFFRUGDQFHZLWK86&DQG$RUDQ\RWKHUVWDWXWHDXWKRUL]LQJDVHQWHQFHRI
          UHVWLWXWLRQ FKHFNLIDSSOLFDEOH
.    G✔ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
.    G You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as
            directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in WKHORFDWLRQwhHUH you
            reside, work,are a student, or were convicted of a qualifying offense. (check if applicable)
.    G You must participate in an approved program for domestic violence. (check if applicable)



You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. ) Judgment in a Criminal Case
                      Sheet 3A — Supervised Release
                                                                                               Judgment—Page         4        of         7
DEFENDANT: JUSTIN CHARLES HANSON
CASE NUMBER: CR 17-04-GF-BMM-02

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
      frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
      court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
      take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
      designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's Signature                                                                                     Date
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                     Sheet 3D — Supervised Release
                                                                                              Judgment—Page     5     of       7
DEFENDANT: JUSTIN CHARLES HANSON
CASE NUMBER: CR 17-04-GF-BMM-02

                                  SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall submit his person, residence, vehicles, and papers, to a search, with or without a warrant by any
probation officer based on reasonable suspicion of contraband or evidence in violation of a condition of release. Failure to
submit to search may be grounds for revocation. The defendant shall warn any other occupants that the premises may be
subject to searches pursuant to this condition. The defendant shall allow seizure of suspected contraband for further
examination.

2. The defendant shall participate in a program for mental health treatment as deemed necessary by the United States
Probation Office, until such time as the defendant is released from the program by the probation office. The defendant is to pay
part or all of the cost of this treatment, as directed by the United States Probation Office.

3. The defendant shall participate in and successfully complete a program of substance abuse treatment as approved by the
United States Probation Office, until the defendant is released from the program by the probation office. The defendant is to pay
part or all of the cost of this treatment, as directed by the United States Probation Office.

4. The defendant shall abstain from the consumption of alcohol and shall not enter establishments where alcohol is the primary
item of sale.

5. The defendant shall participate in substance abuse testing, to include not more than 104urinalysis tests, not more than 104
breathalyzer tests, and not more than 36 sweat patch applications annually during the period of supervision. The defendant shall
pay all or part of the costs of testing as directed by the United States Probation Office.

6. The defendant shall not possess, ingest or inhale any toxic substances such as, but not limited to, synthetic marijuana and/or
synthetic stimulants that are not manufactured for human consumption, for the purpose of altering his mental or physical state.

7. The defendant shall not purchase, possess, use, distribute or administer marijuana, or obtain or possess a medical marijuana
card or prescription.

8. All employment must be approved in advance in writing by the United States Probation Office. The defendant shall consent to
third-party disclosure to any employer or potential employer.

9. The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, and/or any other
anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.

10. The defendant will provide the United States Probation Office with any requested financial information and shall incur no
new lines of credit without prior approval of the United States Probation Office. You must notify the Probation Office of any
material changes in your economic circumstances that might affect your ability to pay restitution, fines or special assessments.

11. If you are ordered by the government to make child support payments or to make payments to support a person caring for a
child, you must make the payments and comply with the other terms of the order.

12. The defendant shall pay restitution. The defendant is to make payments at a rate directed by United States Probation.
Payments shall be made to the Clerk, United States District Court, Missouri River Courthouse, 125 Central Avenue West, Suite
110, Great Falls, MT 59404 and shall be disbursed to:

Tom’s Coins -- $300,000.00
Attention: Tom Fitzpatrick
2 1st Street SW
Minot, ND 58701

Heirloom Jewelers -- $77,000.00
211 3rd Avenue
Havre, MT 59501

13. Pursuant to the Plea Agreement, the defendant agrees to pay $450 in restitution to Pierce County Superior Court, Cause
No. 16-1-01881-7.
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                       Sheet 5 — Criminal Monetary Penalties
                                                                                                      Judgment — Page        6     of        7
 DEFENDANT: JUSTIN CHARLES HANSON
 CASE NUMBER: CR 17-04-GF-BMM-02
                                             CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment               JVTA Assessment*                  Fine                        Restitution
 TOTALS            $ 100.00                   $ N/A                             $ WAIVED                    $ 377,000.00


 G The determination of restitution is deferred until                   . An Amended Judgment in a Criminal Case (AO 245C) will be entered
      after such determination.

 ✔ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 G
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                     Total Loss**             Restitution Ordered             Priority or Percentage
  Tom's Coins                                                            $300,000.00                 $300,000.00        100%

  Attn: Tom Fitzpatrick
  2 1st Street SW

  Minot, ND 58701



  Heirloom Jewelers                                                        $77,000.00                     $77,000.00    100%
  211 3rd Avenue

  Havre, MT 59501




 TOTALS                             $                0.00              $                377,000.00


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 ✔
 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ✔ the interest requirement is waived for the
       G                                                  G fine        ✔ restitution.
                                                                        G
       G the interest requirement for the       G fine         G    restitution is modified as follows:

 * Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
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$2% 5HY -XGJPHQWLQD&ULPLQDO&DVH             Document 89 Filed 10/18/17 Page 7 of 11
                       Sheet 6 — Schedule of Payments

                                                                                                             Judgment — Page      7      of           7
DEFENDANT: JUSTIN CHARLES HANSON
CASE NUMBER: CR 17-04-GF-BMM-02

                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A    G Lump sum payment of $                                  due immediately, balance due

           G     not later than                                   , or
           G     in accordance with G C,         G    D,     G     E, or      G F below; or
B    G Payment to begin immediately (may be combined with                  G C,         G D, or      G F below); or
C    G Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                            over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                            (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                         (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    G Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    G
     ✔ Special instructions regarding the payment of criminal monetary penalties:

           Special assessment shall be immediately due and payable. While incarcerated, criminal monetary penalty
           payments are due during imprisonment at the rate of not less than $25 per quarter, and payment shall be through
           the Bureau of Prisons’ Inmate Financial Responsibility Program. Criminal monetary payments shall be made to
           the Clerk, United States District Court, Missouri River Courthouse, 125 Central Avenue West, Suite 110, Great
           Falls, MT 59404, **Assessment/Restitution Justin Charles Hanson**.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



G
✔ Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.
      Defendant Justin Charles Hanson, CR-17-04-GF-BMM-02
      Co-Defendant Daniel William Dobler, CR-17-04-GF-BMM-01
      Total Amount: $300,0000 Joint and Several: $23,000. Payee: as listed on p. 5
      Total Amount: $77,000 Joint and Several: $77,000. Payee: as listed on p. 5
G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
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                       Attachment (Page 1) — Statement of Reasons


DEFENDANT: JUSTIN CHARLES HANSON
CASE NUMBER: CR 17-04-GF-BMM-02
DISTRICT:       District of Montana
                                                          STATEMENT OF REASONS
                                                             (Not for Public Disclosure)
       Sections I, II, III, IV, and VII of the Statement of Reasons form must be completed in all felony and Class A misdemeanor cases.

I.     COURT FINDINGS ON PRESENTENCE INVESTIGATION REPORT

       A. G       The court adopts the presentence investigation report without change.
          ✔
       B. G       The court adopts the presentence investigation report with the following changes. (Use Section VIII if necessary)
                  (Check all that apply and specify court determination, findings, or comments, referencing paragraph numbers in the presentence report.)

           1.     G     Chapter Two of the United States Sentencing Commission Guidelines Manual determinations by court: (briefly
                         summarize the changes, including changes to base offense level, or specific offense characteristics)



           2.     G     Chapter Three of the United States Sentencing Commission Guidelines Manual determinations by court: (briefly
                        summarize the changes, including changes to victim-related adjustments, role in the offense, obstruction of justice, multiple counts, or
                        acceptance of responsibility)



           3.     G     Chapter Four of the United States Sentencing Commission Guidelines Manual determinations by court: (briefly
                        summarize the changes, including changes to criminal history category or scores, career offender status, or criminal livelihood determinations)



           4.     ✔
                  G     Additional Comments or Findings: (include comments or factual findings concerning any information in the presentence report,
                        including information that the Federal Bureau of Prisons may rely on when it makes inmate classification, designation, or programming
                        decisions; any other rulings on disputed portions of the presentence investigation report; identification of those portions of the report in dispute
                        but for which a court determination is unnecessary because the matter will not affect sentencing or the court will not consider it)
                         The Plea Agreement is made pursuant to Rule 11(c)(1)(A) and (B) not Rule 11(c)(1)(C).
       C. G       The record establishes no need for a presentence investigation report pursuant to Fed.R.Crim.P. 32.
                  Applicable Sentencing Guideline: (if more than one guideline applies, list the guideline producing the highest offense level)

II.    COURT FINDING ON MANDATORY MINIMUM SENTENCE (Check all that apply)

       A. G       One or more counts of conviction carry a mandatory minimum term of imprisonment and the sentence imposed is at or
                  above the applicable mandatory minimum term.
       B. G       One or more counts of conviction carry a mandatory minimum term of imprisonment, but the sentence imposed is below
                  a mandatory minimum term because the court has determined that the mandatory minimum term does not apply based on:
                  G     findings of fact in this case: (Specify)

                  G     substantial assistance (18 U.S.C. § 3553(e))
                  G     the statutory safety valve (18 U.S.C. § 3553(f))
          ✔
       C. G       No count of conviction carries a mandatory minimum sentence.

III.   COURT DETERMINATION OF GUIDELINE RANGE: (BEFORE DEPARTURES OR VARIANCES)

       Total Offense Level:                17
       Criminal History Category:            VI
       Guideline Range: (after application of §5G1.1 and §5G1.2)            51                    to     63                      months
       Supervised Release Range: 1                     to 3                  years
       Fine Range: $ 10,000               to $ 95,000

       ✔ Fine waived or below the guideline range because of inability to pay.
       G
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                        Attachment (Page 2) — Statement of Reasons

DEFENDANT: JUSTIN CHARLES HANSON
CASE NUMBER: CR 17-04-GF-BMM-02
DISTRICT:       District of Montana
                                                           STATEMENT OF REASONS
IV.    GUIDELINE SENTENCING DETERMINATION (Check all that apply)
       A. G        The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
                   does not exceed 24 months.
       B. G        The sentence is within the guideline range and the difference between the maximum and minimum of the guideline range
                   exceeds 24 months, and the specific sentence is imposed for these reasons: (Use Section VIII if necessary)

          ✔
       C. G        The court departs from the guideline range for one or more reasons provided in the Guidelines Manual.
                   (Also complete Section V.)
       D. G        The court imposed a sentence otherwise outside the sentencing guideline system (i.e., a variance). (Also complete Section VI)
V.     DEPARTURES PURSUANT TO THE GUIDELINES MANUAL (If applicable)
       A. The sentence imposed departs: (Check only one)
          G above the guideline range
          ✔ below the guideline range
          G
       B. Motion for departure before the court pursuant to: (Check all that apply and specify reason(s) in sections C and D)
            1.     Plea Agreement
                   G binding plea agreement for departure accepted by the court
                   G plea agreement for departure, which the court finds to be reasonable
                   G plea agreement that states that the government will not oppose a defense departure motion.
          2.       Motion Not Addressed in a Plea Agreement
                   ✔ government motion for departure
                   G
                   G defense motion for departure to which the government did not object
                   G defense motion for departure to which the government objected
                   G joint motion by both parties
          3.       Other
                   G Other than a plea agreement or motion by the parties for departure
       C. Reasons for departure: (Check all that apply)
G     4A1.3      Criminal History Inadequacy              G 5K2.1         Death                            G    5K2.12 Coercion and Duress
G     5H1.1      Age                                      G 5K2.2         Physical Injury                  G    5K2.13 Diminished Capacity
G     5H1.2      Education and Vocational Skills          G 5K2.3         Extreme Psychological Injury     G    5K2.14 Public Welfare
G     5H1.3      Mental and Emotional Condition           G 5K2.4         Abduction or Unlawful            G    5K2.16 Voluntary Disclosure of
                                                                          Restraint                                    Offense
G     5H1.4      Physical Condition                       G     5K2.5     Property Damage or Loss          G    5K2.17 High-Capacity, Semiautomatic
                                                                                                                       Weapon
G     5H1.5      Employment Record                G 5K2.6                 Weapon                           G    5K2.18 Violent Street Gang
G     5H1.6      Family Ties and Responsibilities G 5K2.7                 Disruption of Government         G    5K2.20 Aberrant Behavior
                                                                          Function
G     5H1.11 Military Service                             G     5K2.8     Extreme Conduct                  G    5K2.21 Dismissed and Uncharged
                                                                                                                       Conduct
G     5H1.11 Charitable Service/Good Works                G 5K2.9 Criminal Purpose                         G    5K2.22 Sex Offender Characteristics
✔
G     5K1.1 Substantial Assistance                        G 5K2.10 Victim’s Conduct                        G    5K2.23 Discharged Terms of
                                                                                                                       Imprisonment
G     5K2.0      Aggravating/Mitigating                   G     5K2.11 Lesser Harm                          G   5K2.24 Unauthorized Insignia
                 Circumstances
                                                                                                            G   5K3.1
                                                                                                           Early Disposition Program
                                                                                                            (EDP)
G     Other Guideline Reason(s) for Departure, to include departures pursuant to the commentary in the Guidelines Manual: (see “List of
      Departure Provisions” following the Index in the Guidelines Manual.) (Please specify)




       D.     State the basis for the departure. (Use Section VIII if necessary)
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                       Attachment (Page 3) — Statement of Reasons


DEFENDANT: JUSTIN CHARLES HANSON
CASE NUMBER: CR 17-04-GF-BMM-02
DISTRICT:       District of Montana
                                                  STATEMENT OF REASONS
VI.    COURT DETERMINATION FOR A VARIANCE (If applicable)
       A. The sentence imposed is: (Check only one)
          G above the guideline range
          G below the guideline range
       B. Motion for a variance before the court pursuant to: (Check all that apply and specify reason(s) in sections C and D)
          1.       Plea Agreement
                   G binding plea agreement for a variance accepted by the court
                   G plea agreement for a variance, which the court finds to be reasonable
                   G plea agreement that states that the government will not oppose a defense motion for a variance
          2.       Motion Not Addressed in a Plea Agreement
                   G government motion for a variance
                   G defense motion for a variance to which the government did not object
                   G defense motion for a variance to which the government objected
                   G joint motion by both parties
          3.       Other
                   G Other than a plea agreement or motion by the parties for a variance

       C. 18 U.S.C. § 3553(a) and other reason(s) for a variance (Check all that apply)
          G The nature and circumstances of the offense pursuant to 18 U.S.C. § 3553(a)(1)
             G Mens Rea                           G Extreme Conduct                     G Dismissed/Uncharged Conduct
             G Role in the Offense                G Victim Impact
             G General Aggravating or Mitigating Factors (Specify)
          G The history and characteristics of the defendant pursuant to 18 U.S.C. § 3553(a)(1)
             G Aberrant Behavior                  G Lack of Youthful Guidance
             G Age                                G Mental and Emotional Condition
             G Charitable Service/Good            G Military Service
                  Works
             G Community Ties                     G Non-Violent Offender
             G Diminished Capacity                G Physical Condition
             G Drug or Alcohol Dependence G Pre-sentence Rehabilitation
             G Employment Record                  G Remorse/Lack of Remorse
             G Family Ties and                    G Other: (Specify)
                  Responsibilities
             G Issues with Criminal History: (Specify)
          G To reflect the seriousness of the offense, to promote respect for the law, and to provide just punishment for the offense
             (18 U.S.C. § 3553(a)(2)(A))
          G To afford adequate deterrence to criminal conduct (18 U.S.C. § 3553(a)(2)(B))
          G To protect the public from further crimes of the defendant (18 U.S.C. § 3553(a)(2)(C))
          G To provide the defendant with needed educational or vocational training (18 U.S.C. § 3553(a)(2)(D))
          G To provide the defendant with medical care (18 U.S.C. § 3553(a)(2)(D))
          G To provide the defendant with other correctional treatment in the most effective manner (18 U.S.C. § 3553(a)(2)(D))
          G To avoid unwarranted sentencing disparities among defendants (18 U.S.C. § 3553(a)(6)) (Specify in section D)
          G To provide restitution to any victims of the offense (18 U.S.C. § 3553(a)(7))
          G Acceptance of Responsibility          G Conduct Pre-trial/On Bond G Cooperation Without Government Motion for
          G Early Plea Agreement                  G Global Plea Agreement                   Departure
          G Time Served (not counted in sentence) G Waiver of Indictment                G Waiver of Appeal
          G Policy Disagreement with the Guidelines (Kimbrough v. U.S., 552 U.S. 85 (2007): (Specify)

            G Other: (Specify)
       D. State the basis for a variance. (Use Section VIII if necessary)
AO 245B (Rev. )   Case 4:17-cr-00004-BMM
                       Judgment in a Criminal Case               Document 89   Filed 10/18/17 Page 11 of 11Not for Public Disclosure
                       Attachment (Page 4) — Statement of Reasons


DEFENDANT: JUSTIN CHARLES HANSON
CASE NUMBER: CR 17-04-GF-BMM-02
DISTRICT:       District of Montana
                                                  STATEMENT OF REASONS
VII.   COURT DETERMINATIONS OF RESTITUTION

       A. G       Restitution Not Applicable.

       B. Total Amount of Restitution: $        377,000.00

       C. Restitution not ordered: (Check only one)

            1.    G For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because
                    the number of identifiable victims is so large as to make restitution impracticable under 18 U.S.C. § 3663A(c)(3)(A).
            2.    G For offenses for which restitution is otherwise mandatory under 18 U.S.C. § 3663A, restitution is not ordered because
                    determining complex issues of fact and relating them to the cause or amount of the victims’ losses would complicate
                    or prolong the sentencing process to a degree that the need to provide restitution to any victim would be outweighed
                    by the burden on the sentencing process under 18 U.S.C. § 3663A(c)(3)(B).
            3.    G For other offenses for which restitution is authorized under 18 U.S.C. § 3663 and/or required by the sentencing
                    guidelines, restitution is not ordered because the complication and prolongation of the sentencing process resulting
                    from the fashioning of a restitution order outweigh the need to provide restitution to any victims under 18 U.S.C. §
                    3663(a)(1)(B)(ii).
            4.    G For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or
                     3663A, restitution is not ordered because the victim(s)'(s) losses were not ascertainable (18 U.S.C. § 3664(d)(5))
            5.    G For offenses for which restitution is otherwise mandatory under 18 U.S.C. §§ 1593, 2248, 2259, 2264, 2327 or
                    3663A, restitution is not ordered because the victim(s) elected to not participate in any phase of determining the
                    restitution order (18 U.S.C. § 3664(g)(1)).
            6.    G Restitution is not ordered for other reasons. (Explain)

       D. G       Partial restitution is ordered for these reasons (18 U.S.C. § 3553(c)):



VIII. ADDITIONAL BASIS FOR THE SENTENCE IN THIS CASE (If applicable)
All warrants in Washington State were quashed including the warrants in :
Kittitas County Superior Court -- cause no. 06-1-00236-8
Bonney Lake Municipal Court -- cause no. DD100MU case: 5Z06455472
Tacoma Municipal Court -- case no. B00252858
Fife Municipal Court -- case no. 6Z413935
Issaquah Municipal Court -- cause no. C00015164

The Defendant shall receive credit for 191 days of custody because he was sentenced on October 17, 2017, not August 23,
2017.




Defendant’s Soc. Sec. No.:      XXX-XX-XXXX                                        Date of Imposition of Judgment
                                                                                    10/17/2017
Defendant’s Date of Birth:      9/30/1974

Defendant’s Residence Address:                                                     Signature of Judge
12517 47th Avenue SW #2, Lakewood, WA 98499                                         Brian Morris, United States District Judge
Defendant’s Mailing Address:                                                       Name and Title of Judge
same                                                                               Date Signed 10/17/2017
